                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          1:17-cv-00709-NCT-JLW

ALAN SCOT TICKLES,                                  )
                                                    )
          Plaintiff,                                )        MEMORANDUM
                                                    )         IN SUPPORT
v.                                                  )       OF DEFENDANT’S
                                                    )      MOTION TO DISMISS
SHERIFF TERRY S. JOHNSON, in his official           )
capacity as Alamance County Sheriff,                )
                                                    )
          Defendant.                                )

                                     PREAMBLE

       COMES NOW Defendant, Sheriff Terry S. Johnson, by and through his

undersigned Counsel, and pursuant to Local Rule 7.2 and Fed. R. Civ. P. 12(b)(6), and

submits this Memorandum in support of its pending Motion to Dismiss all claims.

     STATEMENT OF THE CASE AND ALLEGATIONS IN THE COMPLAINT

       On August 2, 2017, Plaintiff filed a Complaint pursuant to the Age Discrimination

in Employment Act of 1967, as amended, 29 U.S.C. §621, et seq. (D.E. #1 at p. 1).

Plaintiff alleges that he was discriminated on two (2) distinct occurrences. Specifically,

Plaintiff first alleges that on May 22, 2015, he applied for a promotion to Sergeant and

was “passed over” for this promotion on or about June 8, 2015. (Id. at ¶ 18). Plaintiff

claims that although he met Defendant’s Guidelines for promotion, two (2) other

younger, less qualified individuals, who failed to meet the requisite Guidelines for

promotion to Sergeant, were promoted instead. (Id. at ¶ 19). Second, Plaintiff further


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alleges that approximately two (2) months after the failed promotion, he was reprimanded

for making a comment about a former maintenance employee’s intolerance for people of

other races and ethnicities. Plaintiff contends the comment which subjected him to

reprimand was a pretextual reason for his termination. (Id. at ¶ 20).      Plaintiff was

terminated by Defendant on or about August 19, 2015. (Id. at ¶ 21).

         Plaintiff claims that he was a victim of age discrimination in Defendant’s

promotional process. (D.E. #1 at p. 1). He alleges that Defendant discriminated against

him because of his age, and that, as a result, he filed a “Charge of Discrimination” with

the United States Equal Employment Opportunity Commission (“EEOC”). (Id. at ¶ 8).

Plaintiff further alleges that the investigation conducted by the EEOC led to a

determination in his favor on the issue of failure to promote in violation of the ADEA.

(Id.) The EEOC initiated its formal “conciliation” process to attempt to resolve the

Plaintiff’s claims and when conciliation failed, the EEOC issued Plaintiff a “Dismissal”

and Notice of Right to Sue. (Id.).

         Subsequent to the EEOC “right-to-sue” letter dated May 5, 2017, Plaintiff filed

the instant lawsuit in this Court on August 2, 2017. In his suit, Plaintiff seeks money

damages including liquidated damages, in an amount to be proved at trial. (Id. at p. 6).

Defendant now moves for dismissal of Plaintiff’s Complaint on the grounds set forth

below.




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                               LAW AND ARGUMENT

A.     The Legal Standard

       A Motion to Dismiss made pursuant to Fed. R. Civ. P. 12(b)(6) scrutinizes the

legal sufficiency of the claims contained in the Complaint. "[W]hen ruling on a

Defendant’s Motion to Dismiss, a Judge must accept as true all of the factual allegations

contained in the Complaint." See Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct. 2197,

2200, 167 L.Ed.2d 1081 (2007). In order for a Complaint to state a claim upon which

relief may be granted, the Complaint must contain sufficient factual allegations, accepted

as true, to state a claim for relief that is plausible on its face, which allows a Court to

draw the reasonable inference that the Defendant is liable for the misconduct alleged.

See McCleary Evans v. Maryland Dept. of Transp., 780 F.3d 582 (4th Cir. 2015) (relying

upon Ashcroft v. Iqbal, 556 U.S. 652, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009), and

Fed. R. Civ. P. 8(a). Plaintiff must allege facts sufficient to support each element of his

claims. See Bass v. DuPont, 324 F.3d 761, 764-65 (4th Cir. 2003).

B.     Plaintiff’s Complaint Should be Dismissed for Failure to State Sufficient
       Facts to State a Claim Against the Defendant

       In the McCleary-Evans case cited above, the Plaintiff’s Complaint was properly

dismissed, wherein the Plaintiff alleged that she had worked over twenty (20) years as a

project manager in environmental regulatory compliance projects while employed at the

Maryland Department of Natural Resources and the Maryland Transit Administration.

(Id. at 583). In late 2009 – early 2010, she applied for two (2) open positions in the

Highway Administration’s Environmental Compliance Division. She alleged that her
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prior work experience and education made her more than qualified for the positions, but

these positions were filled by “non-black” candidates. (Id.). She then alleged that the

Highway Administration did not hire her because of the combination of her race and

gender. (Id.).   The Complaint alleged that the selection committee overlooked the

African-American candidates to select white male and female candidates.               Then, in

conclusory fashion, the Plaintiff alleged that the decision makers were biased in making

their decision. However, the Complaint did not include any allegations regarding the

qualifications or suitability of the persons hired to fill the two (2) positions. The Court,

upon these facts, confirmed the dismissal of Plaintiff’s Complaint.

       In this case, the Plaintiff’s Complaint fails to allege sufficient factual allegations to

provide a plausible means of recovery. Plaintiff alleges that Defendant maintains a

system of ranks and that “[b]efore a person could be promoted to a higher rank, that

person was supposed to meet minimum standards that the Defendant had set (the

“Guidelines”). (D.E. # 1, ¶ 11) Plaintiff does not allege that Defendant is obligated to

follow these Guidelines, nor does Plaintiff allege any significant detail about the

applicable standards for promotion.          Plaintiff’s sole allegation concerning these

guidelines is that a person could not be considered for a Sergeant position until they had

served as Corporal for eighteen (18) months. (D.E. #1, ¶ 18). There is no allegation

contained in the Complaint that Plaintiff was qualified for the promotion, beyond his

service as Corporal for at least eighteen (18) months. Subsequently, Plaintiff makes

conclusory allegations that he was not promoted based upon his age, solely because two


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(2) younger applicants were promoted. (D.E. #1, ¶ 19). The Plaintiff has failed to make

any allegations as to how these two (2) applicants were less qualified than Plaintiff nor

has Plaintiff alleged what the applicable standards might be for promotion.             The

Plaintiff’s conclusory allegations that younger applicants were promoted contains no

discussion of their actual qualifications other than conclusory statements about

disciplinary action with no specifics.

       As in McCleary-Evans, Plaintiff “can only speculate that the persons hired were

not better qualified, or did not perform better during their interviews, or were not better

suited based on experience and personality for the positions.” (Id.). The extremely

limited factual allegations provided by Plaintiff "stop short of the line between possibility

and plausibility of entitlement to relief." See Bell Atlantic Corporation v. Twombly, 550

U.S. 544, 557, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).

       Additionally, Plaintiff alleges that he was born in 1966 and hired by the Defendant

in 2009. (D.E. #1, ¶ 12). Thus, Plaintiff was a member of the protected age class when he

was hired by Defendant. Plaintiff then alleges that he received three (3) prior promotions

in the shortest amount of time possible and was at the rank of Corporal at the time of his

dismissal. (D.E. #1, ¶ 14). Plaintiff alleges no further facts which would indicate why

Defendant would suddenly have changed his mind and begun a campaign of

discrimination against older workers. “In cases where the hirer and the firer are the same

individual and the termination of employment occurs within a relatively short time span

following the hiring, a strong inference exists that discrimination was not a determining


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factor for the adverse action taken by the employer.” See Proud v. Stone, 945 F.2d 796,

798, (4th Cir. 1991). Thus, as Plaintiff was hired by Defendant and promoted three (3)

times while a member of the protected class, the strong inference against discrimination

weakens the plausibility of Plaintiff’s Complaint.

       Furthermore, Plaintiff has failed to allege that he was not promoted “but for his

age” as required to sustain a claim against the Defendant. See Swierkiewicz v. Sorema,

534 U.S. 506, 122 S.Ct. 992, ___ L.Ed.2d ____, (2002) (where plaintiff actually alleged

allegations of specific disparate treatment and exclusion from activities in his

employment as a result of his nationality); and Gross v. FBL Fin. Servs., 557 U.S. 167,

129 S.Ct. 2343, 174 L.E.2d 119 (2009) (where the Court stated that a plaintiff bringing a

disparate-treatment claim under the ADEA had to prove by a preponderance of the

evidence that age was the “but-for” cause of the challenged adverse employment action).

        Moreover, Plaintiff admits that he was terminated for making a comment about a

former maintenance employee’s intolerance for people of other races and ethnicity. (D.E.

#1, ¶ 20). However, at no point in the Complaint does Plaintiff allege that this statement

was false, but only makes the conclusory allegation that this was a pretextual reason for

the termination. As such, the Plaintiff’s Complaint fails to state a claim upon which

relief can be granted due to its failure to allege sufficient factual allegations to indicate

that the Plaintiff was treated differently solely based upon his age.

       The Plaintiff’s Complaint in this case simply does not allege any facts, whether

direct or circumstantial, to indicate how he was treated differently because of his age, that


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his age was the cause of his failure to be promoted, or that age was the cause of his

termination. As a result, this action should be DISMISSED WITH PREJUDICE.

                                 CONCLUSION

      Based upon the foregoing law and argument, the Motion by Defendant Sheriff

Terry S. Johnson should be GRANTED and the Complaint against him DISMISSED

WITH PREJUDICE.

      This the 21st day of September, 2017.


                                        /s/ William L. Hill
                                        William L. Hill (NCSB #21095)
                                        Attorney for Defendant Johnson

FRAZIER HILL & FURY, R.L.L.P.
Post Office Drawer 1559
Greensboro, North Carolina 27401
Telephone: (336) 378-9411
Facsimile: (336) 274-7358
whill@frazierlawnc.com




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                       UNITED STATES DISTRICT COURT
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                            1:17-cv-00709-NCT-JLW

ALAN SCOT TICKLES,                                )
                                                  )
             Plaintiff,                           )
                                                  ) CERTIFICATE OF COMPLIANCE
            v.                                    )        PURSUANT TO
                                                  )      L.R. 7.3(d)(1) and (2)
SHERIFF TERRY S. JOHNSON, in his                  )
official capacity as Alamance County Sheriff,     )
                                                  )
             Defendant.                           )
                                                  )

       I, William L. Hill, certify that MEMORANDUM IN SUPPORT OF

DEFENDANT’S MOTION TO DISMISS complies with L.R. 7.3(d)(1) and (2).

       I further certify that, in preparation of the above document, I used Microsoft Word

2013, and that this word processing program has been applied specifically to include all

text, headings, footnotes, and quotations.

       I further certify that the above referenced document contains 1,731 words.

       This the 21st day September, 2017.

                                                 /s/ William L. Hill
                                                 William L. Hill (NCSB #21095)
                                                 Attorney for Defendant Johnson
FRAZIER, HILL & FURY, R.L.L.P.
Post Office Drawer 1559
Greensboro, North Carolina 27402-1559
Telephone: (336) 378-9411
Facsimile: (336) 274-7358
whill@frazierlawnc.com



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                            CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the foregoing
MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
AND CERTIFICATE OF COMPLIANCE PURSUANT TO L.R. 7.3(d)(1) and (2) with the
Clerk of Court using the CM/ECF system and have verified that such filing was sent
electronically using the CM/ECF system to the following:

                           Brett A. DeWitt
                           HENSEL LAW, P.L.L.C.
                           brett.dewitt@hensellaw.com
                           Attorney for Plaintiff

      This the 21st day of September, 2017.


                                         /s/William L. Hill
                                         William L. Hill (NCSB #21095)
                                         Attorney for Defendant Johnson




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